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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
      Plaintiff

        v.                                                    Criminal No. 07-488 (ADC)

 [22] NOES SOTO-VAZQUEZ,
       Defendant.



               ORDER ADOPTING REPORT AND RECOMMENDATION

       Before the Court is an unopposed Report and Recommendation issued by Magistrate-

Judge Camille Vélez-Rivé on December 8, 2008. (Docket No. 908). In said Report and

Recommendation the Magistrate-Judge recommends that: defendant Noes Soto-Vázquez be

adjudged guilty of the offenses charged in Counts One and Seven (T. 21, U.S.C. §§ 846,

841(a)(1), (b)(1)(C), (b)(2) and 860; T. 18, U.S.C. §§ 924(c)(a)(A)II) and 2)) inasmuch as, his plea

of guilty was intelligently, knowingly and voluntarily entered.

       Neither party has filed objections to the Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).

       After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby APPROVES

and ADOPTS the Magistrate-Judge’s Report and Recommendation in its entirety.
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       Accordingly, a judgment of conviction is to be entered as to Counts One and Seven of

the indictment in the above-captioned case.

       The sentencing hearing is set for March 2, 2009 at 10:30 a.m.

       IT IS SO ORDERED.

       At San Juan, Puerto Rico, this 19th day of January, 2009.



                                                 S/AIDA M. DELGADO-COLON
                                                 United States District Judge
